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JUANITA ROLES,
ELIZABETH M. WILSON,

ASIA FORD,

BRANDON MERCER,
WILLIAM L. COLLINS,
D’ARTAGNAN M. LLOYD
WHERE DO WE GO BERKELEY
1023 Wood Street

Oakland, CA 94607

Tel: 510-575-1158

Email: wheredowegoberk@gmail.com

 

Pro Se Plaintiffs
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA a
fe ES
JUANITA ROLES, ELIZABETH M. ) Case Ng,: a
WILSON, ASIA FORD, BRANDON ) | % dp 4 A $3 5
MERCER, WILLIAM L. COLLINS, ) NH

 

D’ARTAGNAN M. LLOYD, and WHERE DO ) coMPLAINT FOR INJUCTIVE RELIEF
WE GO BERKELEY, on behalf ofitselfand )

those it represents;

Plaintiffs,

VS.

TRANSPORATION (Caltrans), TOKS
OMISHAKIN, individually and in his official
capacity as Director of Caltrans; and, Dina
El-Tawansy, individually and in her official
capacity as Director of District Four

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Defendants

 

 

 

 

Juanita Roles v. Caltrans, No.
Complaint for Injunctive Relief- 1

 

 
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JURISDICTION AND VENUE
1, This case belongs in federal court. This is an action for injunctive relief pursuant

to 42 U.S.C. Section 1983. The request for a temporary and preliminary restraining order is
based on the danger of imminent harm to plaintiffs, who are disabled homeless residents of
Ashby/Shellmound encampment located on Caltrans land in the City of Berkeley, California.
Imminent harm includes the imminence of violation of their Constitutional rights, including
rights secured by the Fourth and Fourteenth Amendments of the Constitution of the United
States and Article 1, Section 7 of the California Constitution, as

2. Jurisdiction is based on 28 U.S.C. Sections 1331 and 1343. This case is brought
pursuant to 42 U.S.C. Section 1983 and raises questions of federal constitutional law under the
Fourth and Fourteenth Amendments and federal statutes. Jurisdiction also exists under the
Declaratory Judgment Act, 28 U.S.C. Sections 2201(a) and 2202 and under Title II of the
Americans with Disabilities Act (“ADA”), 42 U.S.C. 12132.

3. Venue is proper in the Northern District in that the events and conduct
complained of in this action are occurring in the Northern District.

INTRADISTRICT ASSIGNMENT
4. Because this action arises in Alameda County, it is assigned to the Oakland or San

Francisco Division.
PARTIES

5. Plaintiff JUANITA ROLES, is a disabled woman, who has lived at the Caltrans
Ashby/Shellmound encampment for approximately two years. She suffers from a compound
fracture where her ankle broke in two places in January 2020. It did not heal properly and now
she requires an operation. She has difficulty walking and uses a wheelchair to assist with her
mobility. Ms. Roles is a qualified individual with a disability within the meaning of Americans
with Disabilities Act (ADA) and Cal. Gov’t Code §12926.

6. Plaintiff ELIZABETH B. WILSON has lived at the Caltrans Ashby/Shellmound
encampment for over approximately four years. She suffers from Post-Traumatic Stress
Disorder and Depression. Ms. Wilson is a qualified individual with a disability within the

meaning of the American with Disabilities Act (“ADA”) and Cal. Gov't Code §12926.

 

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7. Plaintiff ASLA FORD has lived at the Caltrans Ashby/Shellmound encampment for
approximately two years. He has been diagnosed with type II immunity asthma and have four
amputated toes on my right foot. In addition, 14 bones on my right foot are broken. This makes
it difficult for me to walk. Mr. Ford is a qualified individual with a disability within the meaning
of Americans with Disabilities Act (“ADA) and Cal. Gov't Code 812926.

8. Plaintiff BRANDON MERCER has been homeless for twenty-four years. He lives
at the Caltrans Ashby/Shellmound encapment. He suffers from Crones Disease, emotional
problems, anxiety and social paranoia. He is a qualified individual with a disability within the
meaning of Americans with Disabilities Act (“ADA) and Cal. Gov't Code §12926.

9. Plaintiff DDARTAGNAN LLOYD has been homeless for approximately seven years.
He has lived at the Caltrans Ashby/Shellmound encampment for approximately one year. He is
disabled due to ulcerations on his feet which make walking difficult. He has been diagnosed
with generalized anxiety disorder. He is a qualified individual with a disability within the
meaning of Americans with Disabilities Act (“ADA) and Cal. Gov't Code §12926.

10. Plaintiff WILLIAM L. COLLINS has been homeless for approximately three years.
He has lived at the Caltrans Ashby/Shellmound encampment for approximately two years. He
suffer from clinical depression. He is a qualified individual with a disability within the meaning
of the Americans with Disabilities Act (“ADA) and Cal. Gov't Code §12926.

11. Plaintiff WHERE DO WE GO BERKELEY (WDWG) is a 501(c)(3) organization
made up of homeless and housing insecure individuals and advocates. WOWG Berkeley's
mission is to serve, support and advocate for homeless individuals living in the East Bay.
WDWG’s main focus is to represent, support, and serve the four largest encampments along the
I-80 corridor —in Berkeley and Emeryville, California. The Caltrans Ashby/Shellmound
encampment located in Berkeley and in Emeryville is one of these four encampments. WOWG
Berkeley brings this suit on behalf of itself and on behalf of the homeless individuals it supports
in Caltrans Ashby/Shellmound encampment located in Berkeley, California.

12. Defendant the California Department of Transportation (Caltrans) is a California

State Agency under the laws of the State of California, with the capacity to sue and be sued.

 

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13. Defendant TOKS OMISHAKIN is the Director of the Caltrans and is sued in both
his individual and official capacities.

14. Defendant DINA EL-TAWANSY is the District Four Director for the CALTRANS
and is sued in both her individual and official capacities.

STATEMENT OF FACTS
15. |WDWG Berkeley was founded because of Bay Area cities’ policies and practices of

“evicting” and “sweeping” the homeless and clearing homeless encampments without providing
homeless encampment residents with shelter, housing, or necessary services.

16. Out of sheer exasperation and fear of breaking the law, homeless residents asked
the simple question of local government “Where do we go?” when individuals are homeless,
impoverished, and forced to exist on public land.

17. Since its inception on September 3, 2019, WDWG Berkeley has provided port-a
potties, hand washing stations, tents, tarps, medical support, harm reduction supplies, food,
tent heaters, employment, trash removal, advocacy, clothing, furniture, blankets, clothes and a
host of other items dedicated to helping homeless encampment residents survive on the streets.

18. | WDWG provides these services to the residents of the Emeryville
Ashby/Shellmound encampment including plaintiffs JUANITA ROLES, ELIZABETH B.
WILSON, ASIA FORD, BRANDON MERCER, D’ARTAGNAN M. LLOYD, AND WILLIAM L.
COLLINS.

19. Ms. Roles, Ms. Wilson, Mr. Ford, Mr. Mercer, Mr. Lloyd and Mr. Collins rely on
WDWG Berkeley for food, tents, and supplies. They rely on other service providers that provide
weekly medical services, harm reduction supplies, legal services, and survival supplies to the
Emeryville Ashby/Shellmound encampment. These service providers include, but are not
limited to, Berkeley Outreach Coalition, Copwatch, Consider the Homeless, Lifelong Medical
Homeless Outreach team, Berkeley Free Clinic, Berkeley Suitcase Clinic, East Bay Angels,
Berkeley Food Network, Berkeley NEED, Homeless Action Center, and a host of others.

20. WDWG Berkeley has partnered with Caltrans to clean encampments without
moving residents for over a year. WDWG rents a front loaders, clears the trash from the

encampment, places the trash in areas designated by Caltrans for pick up, and then Caltrans

 

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sends a crew to pick up all the trash and haul it away. Residents have not had to move their
tents during these WDWG Berkeley/Caltrans cleanups. The Ashby/ Shellmound encampment
has always been a part of the scheduled cleanups and none of the residents have had to move.

21. On Tuesday, May 25-26, 2021, representatives from Caltrans sent an email to Mr.
Rogers stating that they wanted to close the encampment.

92, From approximately June 5, 2021 — June 8, 2021, Mr. Rogers emailed Caltrans
notifying them that there were at least nine individuals at the encampment who are disabled.

23, On June 8, 2021, at around 10:15 a.m. the Caltrans posted a notices at the
Ashby/Shellmound encampment notifying residents that they needed to remove themselves
and their belongings by 8:00 a.m. on June 10, 2021. The notice stated that “all persons on the
site at that time will be required to leave.” The notice states that “[a]ll property that is collected
will be discarded if not claimed within 60 days of the date of the cleaning.” It specifically did not
state that personal property would be stored in a manner that homeless residents could retrieve
them afterwards.

24. The notice also directs residents to contact a number 510-622-0792. Thisisa
private residential telephone number and not the number to Caltrans or its representatives.

25.  Asaresult, plaintiffs and other residents are unable to avail themselves to any
storage services offered by Caltrans or if Caltrans does store their belongings, they would not
know where to locate the items.

26.  Asaresult, plaintiffs and other residents are unable to avail themselves of any
storage services offered by Caltrans.

27. The residents of Ashby/Shellmound encampment have nowhere to go and
nowhere to move their belongings.

28. Plaintiff JUANITA ROLES is working with Lifelong Medical Street Outreach team
to acquire housing. If evicted, she has no where to go. Most importantly, if she is forced out of
the encampment it will jeopardize her ability to get housing and she would not have access to
services that are available at the encampment.

29. Ms. Roles would lose her belongings because she uses a wheelchair and cannot

 

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physically move her living structure and her property. She cannot stay in a shelter because she
is non ambulatory.

30. Plaintiff ELIZABETH B. WILSON has no where to go. She believes that she will
lose access to the necessary services that she receives at the encampment. The threat of the
current eviction has caused her to feel hopeless.

31. Ms. Wilson feels safe in the encampment where she knows other people and has
community. This community protects her from others who would victimize her. Her disability
prevents her from entering a shelter.

32, Plaintiff ASIA FORD has been homeless for five years. Mr. Ford states that if
evicted he will “be in danger of losing my health support from Lifelong Medical mobile nurses.”
He further states that if he is “evicted it will worsen my disability due to overstressing an open
wound.” Mr. Ford would lose his belongings because of his open wounds on his feet prevent him
from physically move his living structure and his property.

33. Mr. Ford cannot enter a shelter because they do not have the knowledge to
manage his wound care that his family and health providers can manage. He will not have
access to medical supplies which he obtains from donations and his community. Mr. Ford has
no where to go if he is evicted.

34. Plaintiff BRANDON MERCER is worried that if he is evicted from his home at the
encampment, he will lose the community he trusts and he will no longer have access to his
medical care. He is afraid for his well-being, personal security and safety as well as the safety of
his personal possessions. Mr. Mercer has no where to go if he is evicted.

35. Plaintiff DARTAGNAN M. LLOYD has no where to legally shelter if evicted. He
cannot go into a shelter because of his disabilities. His disability makes walking difficult because
if evicted there will be no way for him to get anywhere without causing injury to his feet.

36. Plaintiff WILLIAM L. COLLINS has will not have a legal place to shelter if evicted.
No one has offered him a place to go. He is concerned that he will be in danger because he will
lose contact with his primary care physicians who visit him at the encampment. If he loses

contact with his physicians, he will not longer have access to regular check ups and medications.

 

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He cannot go into a shelter because the do not facilitate access to medications.

37. Plaintiffs are seven of the approximately thirty current residents who live at the
Ashby/Shellmound encampment.

38. The actions threatened by Caltrans will impact and harm all of the residents of the
encampment and especially those who are diagnosed with disabilities. While Caltrans has
indicated it will evict the people in the encampment on its property, it has not made any
changes to any rules, policies or procedures despite notice and knowledge that the plaintiffs and
other similarly situated homeless residents have disabilities.

CLAIMS FOR RELIEF

FIRST CLAIM FOR RELIEF
State-Created Danger in Violation of Due Process Guarantee Under the U.S.
Constitution
(By plaintiffs against all defendants)
(42 U.S.C. § 1983)

39. Plaintiffs reincorporate by reference each of the preceding paragraphs and
allegations as if fully set forth herein.

40. Under the Fourteenth Amendment to the U.S. Constitution, no state can “deprive
any person of life, liberty or property without due process of law.” This federal constitutional
provision confers upon Plaintiffs a right to be free from a deprivation of their due process by
Defendants.

41. Under 42 U.S.C. Section 1983, “[elvery person who, under color of any statute,
regulation custom, or usage, of any State or Territory or the District of Columbia, subjects or
causes to be subjected, any citizen of the United States or other person within the jurisdiction
thereof to the deprivation of any rights, privileges or immunities secured by the Constitution
and laws, shall be liable to the party inured in an action at law...”

42. As part of this right, Defendants are prohibited from affirmatively placing
Plaintiffs in known or obvious danger under an objective deliberate indifference standard.

43. By clearing the homeless encampments in Emeryville Ashby/Shellmound and
failing to provide alternative safe housing, where those acts have made Plaintiffs and other

similarly situated unhoused persons at greater risk infection, injury, and death, Defendants

 

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have affirmatively placed and continue to place Plaintiffs in known or obvious danger.
44. Accordingly, Defendants have subjected Plaintiffs to state-created danger in
violation of the Fourteenth Amendment to the U.S. Constitution and 42 U.S.C. §1983.

SECOND CLAIM FOR RELIEF
State-Created Danger in Violation of Due Process Guarantees Under the California
Constitution
(By plaintiffs against all defendants)
(Cal. Const. Art. I, §7)

45. Plaintiffs reincorporate by reference each of the preceding paragraphs and
allegations as if fully set forth herein.

46. Under Article I, Section 7 of the California Constitution “A person may not be
deprived of life, liberty or property without due process of law.” This state constitutional
provision confers upon Plaintiffs a right to be free from a deprivation of their due process rights
by Defendants. |

47. As part of this right, Defendants are prohibited from affirmatively placing
Plaintiffs in known or obvious danger under and objective and deliberate indifference standard.

48. By clearing the homeless Ashby/Shellmound encampment and failing to provide
alternative safe housing, where those acts have made Plaintiffs and others similarly situated
unhoused persons at greater risk infection, injury, and death, Defendants have affirmatively
placed and continue to place Plaintiffs in known or obvious danger.

THIRD CLAIM FOR RELIEF -
Unlawful Seizure of Property in Violation of the Fourth Amendment
(By plaintiffs against all defendants)
(42 U.S.C. § 1983)
49. Plaintiffs reincorporate by reference each of the preceding paragraphs and

allegations as if fully set forth herein.

50. Defendants have notified plaintiffs that “all property that is collected will be
discarded if not claimed within 60 days of the date of the cleaning” thereby signaling their
intention to violate the Plaintiffs’ Fourth Amendment rights to be free from unreasonable
seizure of their property. Defendants’ unlawful actions are done with the specific intent to

deprive plaintiffs of their constitutional rights to be secure in their property or with reckless

 

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disregard of their rights.

51. Plaintiffs are informed and believe that the acts of the defendants and their
employees and agents are intentional in failing to protect and preserve their property and that,
at minimum the defendants were deliberately indifferent to the likely consequences that the
property would be seized and destroyed unlawfully because no location or correct contact
information was provided to the plaintiffs regarding the storage of their personal property. As a
direct and proximate consequence of the acts of the defendants and their agents and
employees, the plaintiffs will suffer loss to their personal property.

FOURTH CLAIM FOR RELIEF
Violation of the Title II of the Americans with Disabilities Act of 1990
(By plaintiffs ROLES, WILSON, FORD, MERCER, LLOYD, and COLLINS against defendants)
(42 U.S.C. § 12132)

52. Plaintiffs reincorporate by reference each of the preceding paragraphs and
allegations as if fully set forth herein.

53. Title II of the Americans With Disabilities Act (“ADA”), 42 U.S.C. § 12132,
provides that: “[N]o qualified individual with a disability shall, by reason of such disability, be
excluded from participation in or be denied the benefits of the services, programs, or activities
of a public entity, or be subjected to discrimination by any such entity.”

54. California incorporates all of these federal protections into state law, such that
violations of the ADA are also state law violations and also contains a broad and independent
disability civil rights mandate. (Cal. Gov't Code § 11135 et seq.)

55. The term “disability” includes persons with mental or physical impairments that
limit one or more major life activities. Cal. Gov't Code § 12926 (i) (medical condition), 12926 (j)
(mental disability), 12926 (1) (physical disability). Three of the plaintiffs are qualified
individuals with disabilities within the meaning of 42 U.S.C. § 12102; 42 U.S.C. § 12131, 28
C.F.R. § 35.104 and Cal. Gov't Code §12926.

56. The ADA and associated state laws obligate public entities to operate each service,
program, or activity so that the service, program, or activity, when viewed in its entirety, is

readily accessible to and usable by individuals with disabilities. 28 C.F.R. § 35.150.

 

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57. Defendants operate a California state agency that providing notices, evictions and
sweeps of homeless people and homeless encampments that reside on Caltrans property. The
rules, policies, procedures and programs associated with homeless encampment and homeless
individual cleanings, clearings, and evictions has failed to provide accommodations to residents
with known disabilities. Defendants’ failure to adopt policies or procedures that provide
reasonable accommodations for homeless people with disabilities denies Plaintiffs with
disabilities meaningful access to services in violation of Title II of the Americans with
Disabilities Act and 28 C.F.R. § 35.150 and accompanying state law.

PRAYER FOR RELIEF
58. WHEREFORE, plaintiffs request that this Court grant them relief as follows:

(a) Grant a Temporary Restraining Order, Preliminary Injunction or
Permanent Injunction immediately enjoining Defendants and each of them
from closing the Ashby/Shellmound encampment and/or otherwise
removing homeless persons from said locations unless and until each
person is actually provided—in real-time—with safe, indoor individual
private and accessible housing.

(b) Order Defendants to create policies, procedures and rules that provide
accommodations to homeless and disabled individuals.

(c) Order Defendants to rescind the notice of eviction and removal of personal
belongings and structures on Thursday, June 10, 2021 or soon thereafter
and permit homeless persons who have been displaced from the
Ashby/Shellmound location to return.

(d) That the Court retain jurisdiction and exercise oversight as to Defendants’
compliance with its Orders.

(e) That the Court award reasonable attorney’s fees to Plaintiffs’ Counsel.

(f) Any further relief that this Court deems appropriate.

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DEMAND FOR TRIAL BY JURY
59. Plaintiffs hereby demand a jury trial as provided by Rule 38(a) of the Federal
Rules of Civil Procedure.

Dated: June 9, 2021
Gap
Juanita Roles
Elizabeth M. Wilson

Asia Ford,

Rianbet Meer

Brandon Mercer

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William Collins
J ibjpe— M Hay Lk

D’artagnan M. Lloyd

— AMZ

Ian Cordova Morales Rogers
President, Where Do We Go Berkeley
Pro Se Plaintiffs

 

 

 

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